Case 1:04-cr-10046-.]DT Document 67 Filed 07/08/05 Page 1 of 7

UN|TED STATES DlSTR|CT COURT

EASTERN D|VlSlON

UN|TED STATES OF AMER|CA

-v..

ALBERT LEON SMITH

WESTERN DlSTR|CT OF TENNESSEE

04-10046-01-T

Robert C. Brooks. CJA
Defense Attorney

P. 0. Box 771558
Memphis, TN 38177

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AMENDED JUDGMENT |N A CR|M|NAL CASE
{For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count S1-S7 of the Superceding indictment on |Viarch 15,
2005. Accordingiy, the court has adjudicated that the defendant is guilty of the following

offense(s):
Title & Section
21 u.s.c. § 841(3)(1)
21 u.s.c. § 841(3((1)
21 u.s.c. § 341(3)(1)
21 u.s.c. § 84113)(1)
21 u.s.c. § 341(3)(1)
21 u.s.c. § 841(3)(1)

21 u.s.c. § 341(3)(1)

Nature of Offense

Possession with intent to Distribute
Cocaine Base

Possession with intent to Distribute
Cocaine Base

Possession with intent to Distribute
Cocaine Base

Possession with intent to Distribute
Cocaine Base

Possession with intent to Distribute
Cocaine Base

Possession with intent to Distribute
Cocaine Base

Possession with intent to Distribute

One-Hundred (100) Dosage Units of

Ecstasy

Date Offense
Conciuded

111'26/2003

07/31/2002

12/03/2001

01/171'2003

01/081'2003

07.1'02/2004

07.1'02/2004

Count
Number|si
31
84
35
82
83

36

37

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence iS imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andator'y
Victims Restitution Act of 1996

Count(s) 83 dismissed on the motion of the United States.

This document entered on the docket sheet in compil_ipance

with Fluie 55 andlor 32 (b) FRCrP on

/ .._

 

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Case No: 1:04cr10046-01-T Defendant Name: A|bert Leon Smith Page 2 cf 6

iT iS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until ali fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 06/30/1970 June 13, 2005
Deft's U.S. iV|arshai No.: 19642-076

Defendant’s Niai|ing Address:
410 Joy Street
Grand Junction, TN 38039

051/1114 A. QHL¢L

D. TODD
UNiTED STATES DISTR|CT JUDGE

   

, 2005

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Case No: 1:04cr10046-01-T Defendant Name: A|bert Leon Smith Page 3 of 6
|MPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 235 Months as to each of Counts S1-S7 of the

Superceding indictment concurrent|y.

The Court recommends to the Bureau of Prisons: institution where defendant can
receive intensive residential drug treatment

The defendant is remanded to the custody of the United States iViarsha|.

RETURN

i have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES |ViARSHAL
By:

 

Deputy U.S. i\/iarshai

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Case No.' 1:04cr10046-01-T Defendant Name: Albert Leon Smith Page 4 of 6

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 5 years as to each of Counts S1-S7 of the Superceding indictment
concurrent|y.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whlle on supervised reiease, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the Hrst five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled su bstance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home cr elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation ofEcer to make such notifications and to confirm the defendants compliance with such
notification requirement

13, if this judgment imposes a fine or a restitution obiigation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Crimina| Monetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for drug
abuse as directed by the U. S. Probation Officer, until such time as the defendant is released
from the program by the U. S. Probation Officer.

2. The defendant shall cooperate with the U. S. Probation Office in the collection of DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). Aii of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Total Fine Tota| Restitution

$700.00

The Speciai Assessment shall be due immediateiy.

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FlNE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

ENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 67 in
case 1:04-CR-10046 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

 

Robert C. Brocks

LAW OFFICE OF ROBERT C. BROOKS
P.O. Box 771558

Memphis7 TN 38177

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honcrable J ames Tcdd
US DISTRICT COURT

